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1                          UNITED STATES DISTRICT COURT
2                             DISTRICT OF PUERTO RICO

3    UNITED STATES OF AMERICA,
4
5         Plaintiff,
                                               Criminal No. 95-029 (JAF)
6         v.

7    ISRAEL SANTIAGO-LUGO,
8
9         Defendant.



10                                    O R D E R

11        Before the court is Defendant Israel Santiago-Lugo’s motion to

12   correct his criminal judgment pursuant to Rule 36 of the Federal

13   Rules of Criminal Procedure. Docket Document No. 3180. The government

14   has responded.    Docket Document No. 3181.

15        Rule 36 provides that at any time, a court may correct clerical

16   errors in a judgment or order; however, Rule 36 does not permit

17   defendants to relitigate the merits of their cases.                FED . R. CRIM .

18   P. 36.    Here, all of Defendant’s arguments relate to the merits of

19   his case.     See Docket Document No. 3180.             Therefore, they are

20   inappropriate for a Rule 36 motion.

21        Even if we were to construe Defendant’s motion as a motion for

22   habeas corpus, Defendant’s claims would still fail.              See 28 U.S.C.

23   § 2255 (2006).    Defendant has already filed a habeas petition in this

24   case.     Docket Document No. 2582.        In order to bring a second or

25   successive habeas motion, Defendant must show the existence of either

26   (1) newly-discovered evidence that would establish his innocence by
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     Criminal No. 95-029 (JAF)                                                   -2-


1    clear and convincing evidence; or (2) a new rule of constitutional

2    law, made retroactive to cases on collateral review.                  28 U.S.C.

3    § 2255.   Defendant has shown neither factor; therefore, we cannot

4    consider his motion on the merits as a § 2255 motion.

5         For the foregoing reasons, we DENY Defendant’s motion, Docket

6    Document No. 3180.

7         IT IS SO ORDERED.
8         San Juan, Puerto Rico, this 26th day of December, 2007.

 9                                             s/José Antonio Fusté
10                                             JOSE ANTONIO FUSTE
11                                             Chief U. S. District Judge
